   EXHIBIT F




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              UNITED STATES of AMERICA
                                    vs
METHODIST LE BONHEUR HEALTHCARE, et al.




                         CHRIS MCLEAN
                          August 11, 2022




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                                                Page 337                                                                   Page 339
·1· ·dollar, but approximately how much lower were the      ·1· · · · · · · ·MR. VROON:· -- or oncologists?
·2· ·professional collections in Exhibit 71 than            ·2· · · · · · · ·THE WITNESS:· I compared -- there's two
·3· ·Exhibit 70?                                            ·3· ·categories, 7 and 9.· I compared 7 --
·4· ·A.· · ·Okay.· To do that I would need to do math,      ·4· · · · · · · ·MR. ROARK:· Hold on.· Mr. Vroon can't
·5· ·which I'm willing to do if that's what you're          ·5· ·ask you questions today.
·6· ·asking.                                                ·6· · · · · · · ·MR. VROON:· I'm just trying to clarify,
·7· ·Q.· · ·Yeah, that's what I'm asking.                   ·7· ·because you didn't say whether it was calculating
·8· ·A.· · ·Okay.· Can I have a piece of paper?             ·8· ·No. 7 or No. 9, Brian.· I wanted to know.
·9· · · · · · · ·MS. SWEET:· Do you want -- I was going     ·9· · · · · · · ·MR. ROARK:· Kara clarified.· And I'm
10· ·to say do you want -- do you have a calculator?        10· ·happy to put it on the record.
11· · · · · · · ·THE WITNESS:· If I'm ballparking, I'm      11· ·BY MR. ROARK:
12· ·going to do it --                                      12· ·Q.· · ·Mr. McLean, when you -- the numbers that
13· · · · · · · ·MS. SWEET:· Okay.                          13· ·you're comparing, does that include the professional
14· · · · · · · ·THE WITNESS:· -- in my head.               14· ·collections from the answer to Interrogatory No. 7
15· · · · · · · ·If we need to get a specific               15· ·and Interrogatory No. 9?
16· ·calculation, I can do that too, if need be.            16· ·A.· · ·Yes.
17· · · · · · · ·So just so you know, what I'm doing is     17· · · · · · · ·MR. ROARK:· All right.· That's all.
18· ·I'm going to compare answer 7 between the two for      18· · · · · · · ·THE VIDEOGRAPHER:· We are going off the
19· ·those two categories and come up with a reasonable     19· ·record at 6:00 p.m.
20· ·estimate of the differences.                           20· · · · · · · · FURTHER DEPONENT SAITH NOT
21· · · · · · · ·MS. SWEET:· You also have to do it for 9   21· · · · · · ·(Proceedings concluded at 6 p.m.)
22· ·as well.                                               22
23· · · · · · · ·MR. ROARK:· Right.                         23
24· ·BY MR. ROARK:                                          24
25· ·Q.· · ·It's 7 and 9.                                   25


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·1· ·A.· · ·7 and 9, correct.· Correct.· So let me figure   ·1·   · · · · · · · · REPORTER'S CERTIFICATE
                                                            ·2
·2· ·out a good way to do the math.
                                                            ·3·   ·STATE OF TENNESSEE
·3· · · · · · · ·(Pause in proceedings.)                    ·4·   ·COUNTY OF Davidson
·4· · · · · · · ·THE WITNESS:· I'll mess up you all's       ·5
·5· ·books.                                                 ·6·   · · · · · ·I, Terri Beckham, RMR, CRR, and licensed
                                                            ·7·   ·Court Reporter, with offices in Nashville,
·6· · · · · · · ·MS. SWEET:· He's writing on that?          ·8·   ·Tennessee, hereby certify that I reported the
·7· ·That's okay.                                           ·9·   ·foregoing deposition of CHRIS MCLEAN by machine
·8· · · · · · · ·MR. ROARK:· No, he just took out a page    10·   ·shorthand to the best of my skills and abilities,
                                                            11·   ·and thereafter the same was reduced to typewritten
·9· ·from the exhibits so he can compare.
                                                            12·   ·form by me.· I am not related to any of the parties
10· · · · · · · ·THE WITNESS:· Okay.· So I did make the     13·   ·named herein, nor their counsel, and have no
11· ·comparisons, each of those various schedules between   14·   ·interest, financial or otherwise, in the outcome of
12· ·the two.· And I come up with around $19.7 million,     15·   ·the proceedings.
                                                            16·   · · · · · ·I further certify that in order for this
13· ·rounded, difference between the first set of           · ·   ·document to be considered a true and correct copy,
14· ·interrogatories and the second set of                  17·   ·it must bear my original signature, and that any
15· ·interrogatories.· So that's the math I calculate.      · ·   ·unauthorized reproduction in whole or in part
                                                            18·   ·and/or transfer of this document is not authorized,
16· ·BY MR. ROARK:
                                                            · ·   ·will not be considered authentic, and will be in
17· ·Q.· · ·So the total estimated professional             19·   ·violation of Tennessee Code Annotated 39-14-104,
18· ·collections in Exhibit 71 is about $19.7 million       · ·   ·Theft of Services.
19· ·lower than Exhibit 70?                                 20
                                                            21
20· ·A.· · ·Yes, that's what I calculated.
                                                            · ·   ·   ·   ·   ·   _________________________________
21· · · · · · · ·MR. ROARK:· That's all that I have.        22·   ·   ·   ·   ·   Terri Beckham, RMR, CRR, LCR
22· · · · · · · ·MS. SWEET:· Okay.                          · ·   ·   ·   ·   ·   Elite-Brentwood Reporting Services
23· · · · · · · ·MR. VROON:· Are you talking about all      23·   ·   ·   ·   ·   Notary Public State of Tennessee
                                                            24·   ·   ·   ·   ·   My Notary Public Commission Expires 3/6/2026
24· ·physicians --                                          · ·   ·   ·   ·   ·   LCR 355 - Expires: 6/30/2024
25· · · · · · · ·MS. SWEET:· No, it's --                    25




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